Case 2:10-md-02179-CJB-DPC Document 6430-18 Filed 05/03/12 Page 1 of 11




                       EXHIBIT 8C
     Case 2:10-md-02179-CJB-DPC Document 6430-18 Filed 05/03/12 Page 2 of 11




Addendum Regarding Compensation Related to a Claimant’s Loss of Employment‐Related Benefits
Income as a Result of the DWH Spill

I.    Eligibility:

Only Eligible Claimants shall qualify for compensation pursuant to this Addendum. To be an Eligible
Claimant, a claimant must satisfy all of the following Eligibility Criteria:

      1. The claimant must qualify for compensation pursuant to Section I, Section II or Section III of the
         Framework for Individual Economic Loss Claims.

      2. Unless the claimant is a New Entrant to Employment, the claimant must have been covered by
         a health insurance and/or retirement plan provided by the claimant’s employer as of April 20,
         2010 (“Pre‐Spill Benefit Providing Employer”).

      3. If the claimant is a New Entrant to Employment, then as of April 20, 2010 the claimant must
         have had and accepted an offer from a Pre‐Spill Benefit Providing Employer which included
         healthcare insurance coverage and/or retirement benefits commencing within the period May
         1, 2010 through December 31, 2011.

      4. The claimant must demonstrate “Employment‐Related Benefit Losses”. Employment Related
         Benefits Losses shall consist of (i) Health Insurance Coverage Losses and/or (b) Retirement
         Benefit Losses (both of which are defined below) due to:
             a. The termination of the claimant’s employment by the Pre‐Spill Benefit Providing
                 Employer; or
             b. Other termination of claimant’s benefits (e.g., a change in employee’s eligibility); or
             c. A reduction in claimant’s compensation related to the DWH Spill; or
             d. For New Entrants to Employment, that the healthcare insurance and/or retirement
                 benefits became unavailable as a result of the offer being withdrawn or amended as a
                 result of the DWH Spill.

          “Health Insurance Coverage Losses” and “Retirement Benefit Losses” shall be defined as
          follows:

               a. Health Insurance Coverage Losses: The claimant’s post‐DWH Spill loss of income related
                  to the loss of coverage under a health insurance plan from a Pre‐Spill Benefit Providing
                  Employer in which the claimant was enrolled as of April 20, 2010 (or which was part of
                  the benefits package a New Entrant to Employment would have received from his or
                  her Pre‐Spill Benefit Providing Employer), including any medical, prescription drug,
                  dental and/or vision insurance plan coverages (“Pre‐Spill Insurance Plan Coverages”);1

                     AND/OR

1
 For purposes of this addendum, each individual health insurance policy coverage (i.e., medical, prescription drug,
dental, and/or vision) will be evaluated separately.
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                                                                                                                      025226
  Case 2:10-md-02179-CJB-DPC Document 6430-18 Filed 05/03/12 Page 3 of 11




           b. Retirement Benefit Losses: The claimant’s post‐DWH Spill loss of income related to the
              loss of or reduction in retirement or pension benefits provided by his or her Pre‐Spill
              Benefit Providing Employer, including employer pension payments, and/or other
              employer contributions related to a claimant’s 401(k) or 403(b) account, profit sharing
              plan or other type of retirement account (“Pre‐Spill Retirement Benefits”).

II. Supplemental Documentation

Each Eligible Claimant must provide the documentation set forth below (in addition to other
documentation required to establish their individual economic loss claim).

   A. Health Insurance Coverage Losses

       An Eligible Claimant seeking compensation for Health Insurance Coverage Losses must provide
       the following documentation:

       1. For all claimants other than New Entrants to Employment, documentation establishing that
          the Eligible Claimant participated in one or more Pre‐Spill Insurance Plan Coverage(s)
          provided by the Pre‐Spill Benefit‐Providing Employer as of April 20, 2010, and certain
          relevant information regarding the Pre‐Spill Insurance Plan Coverage(s), including the
          following:
               a. Documentation establishing whether the Eligible Claimant was enrolled in an
                    individual or family plan coverage for each of the Pre‐Spill Insurance Plan
                    Coverages.
               b. Documentation evidencing periodic (annual, monthly, etc.) premium costs to the
                    claimant, if any, in effect at the time of the DWH Spill for each Pre‐Spill Insurance
                    Plan Coverage.
               c. Documentation establishing the termination and effective termination date(s) of
                    any of Eligible Claimant’s Pre‐Spill Insurance Plan Coverages as a result of either (i)
                    the post‐Spill termination of the Eligible Claimant’s employment by the Pre‐Spill
                    Benefit‐Providing Employer, or (ii) a post‐Spill change in the Eligible Claimant’s
                    employment status with the Pre‐Spill Benefit‐Providing Employer leading to
                    termination of the Eligible Claimant’s coverage.
               d. If available, and if the Eligible Claimant so chooses, a Sworn Written Statement
                    from an authorized representative of the Pre‐Spill Benefit Providing Employer
                    indicating the amount of periodic premiums (pay period, monthly, annual, etc.) that
                    would have been paid for the Eligible Claimant’s Pre‐Spill Insurance Plan
                    Coverage(s) by the Pre‐Spill Benefit Providing Employer absent the DWH Spill.

           Documentation may include, for example, an April 2010 paystub evidencing premium
           deductions for qualifying Pre‐Spill Insurance Plan Coverages, insurance cards, and other
           relevant employer provided documentation, etc.

       2. For New Entrants to Employment, documentation establishing the following:

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                                                                                                              025227
Case 2:10-md-02179-CJB-DPC Document 6430-18 Filed 05/03/12 Page 4 of 11




          a. That the Eligible Claimant’s offer included Pre‐Spill Insurance Plan Coverage(s).
          b. That as of April 20, 2010, the New Entrant to Employment planned to participate in
             one or more of those Pre‐Spill Insurance Plan Coverage(s), including (i) specific
             identification of all relevant Pre‐Spill Insurance Plan Coverage(s), (ii) whether the
             Eligible Claimant intended to enroll as an individual or family, and (iii) the date on
             which the coverage would have begun, as relevant.
          c. The amount of periodic (annual, monthly, etc.) premium costs for which the
             claimant would have been responsible, if any, for each Pre‐Spill Insurance Plan
             Coverage.
          d. If the New Entrant to Employment’s offer was amended rather than withdrawn,
             that the inability to participate in the Pre‐Spill Insurance Plan Coverage(s) was due
             to the DWH Spill, including the specific basis.
          e. The New Entrant to Employment shall provide a Sworn Written Statement from an
             authorized representative of the Pre‐Spill Benefit Providing Employer indicating the
             amount of periodic premiums (pay period, monthly, annual, etc.) that would have
             been paid for the Eligible Claimant’s Pre‐Spill Insurance Plan Coverage(s) by the
             Pre‐Spill Benefit Providing Employer absent the DWH Spill if the following apply:
                 i.   If the New Entrant to Employment’s offer was withdrawn, or if the New
                      Entrant to Employment’s offer was only amended, but he or she was no
                      longer eligible for Pre‐Spill Insurance Plan Coverage; and
                ii.   If the New Entrant to Employment did not obtain Replacement Health
                      Insurance Coverage or a New Employer Insurance Plan (as defined herein)
                      prior to December 31, 2011.

      Documentation may include, for example, the Eligible Claimant’s relevant offer letter,
      insurance plan information received from the Pre‐Spill Benefit‐Providing Employer, and/or
      a Sworn Written Statement from an authorized representative of the from the Pre‐Spill
      Benefit‐Providing Employer with relevant information regarding the Pre‐Spill Insurance
      Plan Coverage(s), such as premium information, the claimant’s eligibility, etc., as applicable.

   3. If, after the termination of any Pre‐Spill Insurance Plan Coverage, the Eligible Claimant
      obtained health insurance coverage through COBRA, the Eligible Claimant shall provide all
      of the following:
           a. Documents evidencing the period for which the Eligible Claimant was covered by
                COBRA, including the first and last effective dates of coverage.
           b. Documents evidencing the COBRA premiums (and the period to which each
                premium relates) through the earlier of (i) the termination of COBRA, or
                (ii) December 31, 2011.
           c. Documents evidencing the claimant’s payment of any COBRA premiums for which
                the Eligible Claimant seeks reimbursement.

   4. If, after the termination of any Pre‐Spill Insurance Plan Coverage, the Eligible Claimant
      obtained and paid for replacement health insurance other than in connection with COBRA,
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                                                                                                        025228
Case 2:10-md-02179-CJB-DPC Document 6430-18 Filed 05/03/12 Page 5 of 11




        new employment or an alternative health care insurance plan for which the claimant was
        eligible (as discussed below)(“Replacement Health Insurance Coverage”), the Eligible
        Claimant shall provide all of the following:
             a. Documents evidencing the period for which the Eligible Claimant procured any
                 Replacement Health Insurance Coverage, including the first and last effective dates
                 of coverage, provided that evidence of coverage beyond December 31, 2011 need
                 not be provided.
             b. Documents evidencing the premium amounts (and the period to which each
                 premium relates), as well as claimant’s payment of those premiums, for each policy
                 providing Replacement Health Insurance Coverage through the earlier of (i) the
                 termination of the policy providing Replacement Health Insurance Coverage, or
                 (ii) December 31, 2011.

    5. If, after the termination of any Pre‐Spill Insurance Plan Coverages, the Eligible Claimant
       was offered but did not accept health insurance coverage pursuant to COBRA or a policy
       providing Replacement Health Insurance Coverage, the Eligible Claimant shall provide
       contemporaneous documents evidencing the terms of any offer of COBRA coverage,
       including the corresponding premium. If the Eligible Claimant was not eligible for COBRA
       because the Pre‐Spill Benefit‐Providing Employer no longer provided health insurance to its
       existing employees, or because it was not required by law to provide such coverage, the
       claimant should certify in writing that no COBRA coverage was offered.

    6. If the Eligible Claimant obtained or was covered by health insurance from a new or former
       employer, or by an alternative health care insurance plan for which the claimant was eligible
       (through, for example, a spouse, domestic partner, parent, legal guardian, veteran’s or other
       plan, as applicable) after the termination of the Pre‐Spill Insurance Plans, but prior to
       December 31, 2011 (“Post‐Spill Employer Insurance Plan Coverage”), the Eligible Claimant
       shall provide documents setting forth the type and effective date(s) of any Post‐Spill
       Employer Insurance Plan Coverages.

 B. Retirement Benefit Losses

    An Eligible Claimant seeking compensation for Retirement Benefit Losses must provide the
    following documentation:

    1. Documentation establishing that the Eligible Claimant was enrolled, eligible for and
       receiving vested Pre‐Spill Retirement Benefits from the Pre‐Spill Benefit‐Providing
       Employer as of April 20, 2010. Documentation evidencing Pre‐Spill Retirement Benefits
       could include, for example, a paystub including matching contributions, investment
       statement, or other third party document evidencing the employer’s contributions to or
       payment of Pre‐Spill Retirement Benefits on behalf of the Eligible Claimant, and the vesting
       schedule.


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                                                                                                       025229
Case 2:10-md-02179-CJB-DPC Document 6430-18 Filed 05/03/12 Page 6 of 11




   2. Documentation establishing that the Eligible Claimant’s Pre‐Spill Retirement Benefits were
      terminated after April 20, 2010 as a result of either (i) the post‐Spill termination of the
      Eligible Claimant’s employment by the Pre‐Spill Benefit‐Providing Employer, or (ii) a post‐
      Spill change in the Eligible Claimant’s employment status with the Pre‐Spill Benefit‐
      Providing Employer.

   3. Documentation evidencing the amount of vested Pre‐Spill Retirement Benefits contributed
      on behalf of the Eligible Claimant by the Pre‐Spill Benefit‐Providing Employer between May
      1, 2009 and the documented termination date of the Pre‐Spill Retirement Benefits. To the
      extent the Eligible Claimant had been employed with the Pre‐Spill Benefit‐Providing
      Employer for less than twelve months, he or she should provide the requested information
      from his or her start date with the Pre‐Spill Benefit‐Providing Employer through the date
      Pre‐Spill Retirement Benefits ceased.

   4. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were terminated, the claimant shall
      provide documentation evidencing the termination of the Eligible Claimant’s Pre‐Spill
      Retirement Benefits, including the effective date of termination.

   5. If the Eligible Claimant experienced a post‐DWH Spill reduction in Pre‐Spill Retirement
      Benefits, the claimant shall provide the following:

           a. Documents regarding any retirement benefits provided by the Pre‐Spill Benefit‐
              Providing Employer after the DWH Spill (“Actual Post‐Spill Retirement Benefits”);
              and
           b. If applicable, any documents evidencing a change in the terms by which the Pre‐Spill
              Benefit‐Providing Employer provided the Pre‐Spill Retirement Benefits (e.g., such
              as an elimination of employer matching) or a change in vesting schedule terms
              unrelated to the DWH Spill (“Unrelated Plan Change”). It will be assumed that any
              plan change is unrelated to the DWH Spill for purposes of this addendum, unless the
              claimant provides documentation establishing that the plan change was due to or
              resulting from the DWH Spill (“Spill‐Related Plan Change”). Documentation could
              include, for example, contemporaneous notification received from, or a Sworn
              Written Statement provided by an authorized representative of, the Pre‐Spill
              Benefit Providing Employer.

   7. For New Entrants to Employment, documentation establishing all of the following:
          a. That the Eligible Claimant’s offer included Pre‐Spill Retirement Benefits.
          b. That as of April 20, 2010, the New Entrant to Employment planned to participate in
             the offered Pre‐Spill Retirement Benefits.
          c. The amount of Pre‐Spill Retirement Benefits for which the Eligible Claimant would
             have been eligible, the vesting schedule for such benefits, and, if the amount or


                                              5


                                                                                                     025230
    Case 2:10-md-02179-CJB-DPC Document 6430-18 Filed 05/03/12 Page 7 of 11




                     vesting of Pre‐Spill Retirement Benefits was contingent upon the Eligible Claimant’s
                     contributions, the planned contributions of the Eligible Claimant.
                  d. If the New Entrant to Employment’s offer was amended rather than withdrawn, the
                     Eligible Claimant’s and his or her Pre‐Spill Benefit Providing Employer’s actual post‐
                     DWH Spill contributions to the Pre‐Spill Retirement Plan.

              Documentation may include, for example, the Eligible Claimant’s relevant offer letter,
              retirement plan information received from the Pre‐Spill Benefit‐Providing Employer, and/or
              a Sworn Written Statement from an authorized representative of the Pre‐Spill Benefit‐
              Providing Employer with relevant information regarding the Pre‐Spill Retirement Benefits,
              such as contribution terms and conditions, the claimant’s eligibility, etc.

         6. If the Eligible Claimant obtained retirement benefits from a new employer after the
            termination of the Pre‐Spill Retirement Benefits, but prior to December 31, 2011 (“New
            Employer Retirement Benefits”), the claimant shall provide documents setting forth the
            effective date(s) of any New Employer Retirement Benefits.

III. Compensation for Health Insurance Coverage Losses

     Eligible Claimants who assert Health Insurance Coverage Losses shall be eligible for compensation
     pursuant to one of the following methodologies, if applicable:

     1. Compensation Based on COBRA or Replacement Health Insurance Coverage Premiums2: The
        Eligible Claimant may be reimbursed based on premium(s) paid for COBRA, or the premium(s)
        paid for policies providing Replacement Health Insurance Coverage in which the Eligible
        Claimant enrolled after the termination of a corresponding Pre‐Spill Insurance Plan Coverage.
        The total loss of income will equal (i) the daily rate for such COBRA or Replacement Health
        Insurance Coverage, less the daily rate for the Eligible Claimant’s portion of the premium on the
        Pre‐Spill Insurance Plan Coverages, multiplied by (ii) the total number of days in the period for
        which the Eligible Claimant qualifies for Health Insurance Coverage Losses, provided that if the
        result in (i) is negative, no compensation will be paid to the Eligible Claimant. Health Insurance
        Coverage Losses will be calculated over the period extending from:

              a. The termination of the Pre‐Spill Insurance Plan Coverage or, for New Entrants to
                 Employment, the date on which the Pre‐Spill Insurance Plan Coverage would have
                 begun absent the DWH Spill, until
              b. The earlier of (i) the Eligible Claimant’s enrollment in a New Employer Insurance Plan,
                 or (ii) December 31, 2011.

         OR



2
 Eligible Claimants who qualify for compensation pursuant to Option 1 may alternatively be compensated on the
basis of Option 2 (if the appropriate information is provided).
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                                                                                                                025231
    Case 2:10-md-02179-CJB-DPC Document 6430-18 Filed 05/03/12 Page 8 of 11




     2. Compensation Based on Documentation Regarding Premiums Paid by the Pre‐Spill Benefit
        Providing Employer3: If the Eligible Claimant provides a Sworn Written Statement from an
        authorized representative of the Pre‐Spill Benefit Providing Employer, the Eligible Claimant
        may be reimbursed based on the premium(s) paid for the Pre‐Spill Insurance Plan Coverage(s)
        by the Pre‐Spill Benefit Providing Employer. The total loss of income will equal (i) the daily rate
        funded by the Pre‐Spill Benefit Providing Employer multiplied by (ii) the total number of days in
        the period for which the Eligible Claimant qualifies for Health Insurance Coverage Losses.
        Health Insurance Coverage Losses will be calculated over the period extending from:

              a. The termination of the Pre‐Spill Insurance Plan Coverage or, for New Entrants to
                 Employment, the date on which the Pre‐Spill Insurance Plan Coverage would have
                 begun absent the DWH Spill, until
              b. The earlier of (i) the Eligible Claimant’s enrollment in a New Employer Insurance Plan,
                 or (ii) December 31, 2011.

         OR

     3. Compensation Based on Estimated Premiums Paid by the Pre‐Spill Benefit Providing
        Employer4: An Eligible Claimant who did not replace coverage through COBRA or Replacement
        Health Insurance Coverage, the Eligible Claimant’s Health Insurance Coverage Losses will be
        calculated as follows:

              a. Step 1: Establish the Pre‐Spill Employer Premium
                      i. For all Eligible Claimants who were not New Entrants to Employment:
                             1. Identify the participating premiums paid by the Eligible Claimant as
                                  evidenced by payroll deductions for the relevant Pre‐Spill Insurance
                                  Plan Coverage in April 2010, or other relevant documentation
                                  evidencing the Eligible Claimant’s premiums related to the Pre‐Spill
                                  Insurance Plan Coverage(s).
                             2. If the Eligible Claimant participated in an individual plan, divide the
                                  premium by 0.2, and if the premium related to a family plan, divide the
                                  premium by 0.45 to calculate the “Gross Premium” associated with the
                                  Pre‐Spill Insurance Plan Coverage, inclusive of both the portion funded
                                  by the claimant and the portion funded by the employer.




3
  Eligible Claimants who qualify for compensation pursuant to Option 2 may alternatively be compensated on the
basis of Option 1 (if the appropriate information is provided).
4
  Option 3 will only be used in circumstances where the Eligible Claimant is unable to provide the information
necessary to perform the calculations set forth in Options 1 or 2.
5
  These factors represent the approximate portion of healthcare insurance premiums funded by employees based
on data from the Bureau of Labor Statistics Employee Benefits Survey.
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                                                                                                                 025232
    Case 2:10-md-02179-CJB-DPC Document 6430-18 Filed 05/03/12 Page 9 of 11




                            3. Multiply the Gross Premium by 0.8 for claimants with individual plans
                                 and 0.6 for claimants with family plans6 to estimate the portion of the
                                 premium funded by the employer (“Pre‐Spill Employer Premium”).
                    ii. For all New Entrants to Employment:
                            1. The Pre‐Spill Employer Premium will be the premium that would have
                                 been funded by the Pre‐Spill Benefit Providing Employer for the New
                                 Entrant to Employment’s Pre‐Spill Insurance Plan Coverage absent the
                                 DWH Spill according to the Sworn Written Statement from the Pre‐Spill
                                 Benefit Providing Employer.
             b. Step 2: Calculate the Daily Pre‐Spill Employer: Divide the Pre‐Spill Employer Premium
                by the number of days covered by the premium to calculate a “Daily Employer
                Premium”.
             c. Step 3: Calculate Health Insurance Coverage Losses:
                     i. For all Eligible Claimants who were not New Entrants to Employment:
                            1. Multiply the Daily Employer Premium by the number of days between
                                 the effective termination date of the relevant Pre‐Spill Insurance Plan
                                 Coverage and the earlier of (i) the effective date of any corresponding
                                 Post‐Spill Employer Insurance Plan Coverage, if applicable7, or (ii)
                                 December 31, 2011.
                    ii. For all New Entrants to Employment:
                            1. Multiply the Daily Employer Premium by the number of days between
                                 the day on which the Pre‐Spill Insurance Plan Coverage would have
                                 taken effect absent the DWH Spill, and the earlier of (i) the effective
                                 date of any corresponding Post‐Spill Employer Insurance Plan
                                 Coverage, if applicable, or (ii) December 31, 2011.

     No RTP will be applied to any calculated Health Insurance Coverage Losses.


IV. Compensation for Retirement Benefit Losses

     Eligible Claimants who claim Retirement Benefit Losses shall be compensated in an amount equal
     to the Pre‐Spill Retirement Benefits contributed on behalf of or paid to the Eligible Claimant by the
     Pre‐Spill Benefit‐Providing Employer for a period extending from:

             a. The termination of or reduction to the Pre‐Spill Retirement Benefits or, for New
                Entrants to Employment, the date on which the Pre‐Spill Retirement Benefits would
                have begun absent the DWH Spill, to


6
  These factors represent the approximate portion of healthcare insurance premiums funded by employees based
on data from the Bureau of Labor Statistics Employee Benefits Survey.
7
  For example, if the Eligible Claimant received coverage from Post‐Spill Employer Insurance Plan Coverage as of
the date of the termination of the Eligible Claimant’s Pre‐Spill Insurance Plan Coverage, the claimant will not have
suffered a compensable loss and will therefore not receive compensation.
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                                                                                                                       025233
Case 2:10-md-02179-CJB-DPC Document 6430-18 Filed 05/03/12 Page 10 of 11




         b. The earlier of (i) the effective date of any New Employer Retirement Benefits, or (ii)
            December 31, 2011.

 The Eligible Claimant’s Retirement Benefit Losses shall be determined as follows:

 1. Step 1: Establish Daily Retirement Benefits Rate(s)
        a. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were eliminated as described
            above, calculate the “Pre‐Spill Daily Retirement Benefits Rate” by dividing (i) by (ii), as
            described below:
                 i. The total vested portion of the Pre‐Spill Retirement Benefits contributed on
                     behalf of the Eligible Claimant by the Pre‐Spill Benefit‐Providing Employer
                     between the later of May 1, 2009 or the commencement date of the Eligible
                     Claimant’s employment with the Pre‐Spill Benefit‐Providing Employer, and the
                     documented date on which the Pre‐Spill Retirement Benefits were reduced or
                     terminated, by
                ii. The total number of days in that period.
        b. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were reduced, then:
                 i. If there was no post‐DWH Spill Plan Change, the Pre‐Spill Retirement Benefits
                     Rate calculated in (a) above will apply for all relevant periods; or
                ii. If there was a post‐DWH Spill Plan Change, then:
                         1. The Pre‐Spill Daily Retirement Benefits Rate calculated as in (a) above
                             will apply for the relevant period prior to the Plan Change, and
                         2. For the relevant period after the Plan Change, the “Revised Daily
                             Retirement Benefits Rate” will be the expected daily rate based on the
                             Pre‐Spill Benefit Providing Employer’s revised contribution terms
                             relative to the Eligible Claimant’s pre‐DWH Spill earnings.
        c. If the Eligible Claimant was a New Entrant to Employment, the “New Entrant
            Retirement Benefits Rate” will be calculated as the Pre‐Spill Benefit Providing
            Employer’s expected average daily contribution on behalf of the Eligible Claimant based
            on documents provided by the Eligible Claimant.

 2. Step 2: Calculate Expected Post‐ Spill Retirement Benefits
        a. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were eliminated as described
            above, the Eligible Claimant’s employer‐funded retirement benefits expected in the
            absence of the DWH Spill (“Expected Post‐Spill Retirement Benefits”) are calculated by
            multiplying the Pre‐Spill Daily Retirement Benefits Rate calculated in (1) by the total
            number of days between:
                 i. The termination of the Eligible Claimant’s Pre‐Spill Retirement Benefits, and
                ii. The earlier of (i) the effective date of any New Employer Retirement Benefits,
                     or (ii) December 31, 2011.
        b. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were reduced rather than
            eliminated, then:


                                                 9


                                                                                                          025234
Case 2:10-md-02179-CJB-DPC Document 6430-18 Filed 05/03/12 Page 11 of 11




                 i. If there was no post‐DWH Spill Plan Change, the Eligible Claimant’s Expected
                     Post‐Spill Retirement Benefits shall calculated as in (a) above.
                ii. If there was a post‐DWH Spill Plan Change, the Eligible Claimant’s Expected
                     Post‐Spill Retirement Benefits shall be calculated as the sum of the following:
                          1. The Pre‐Spill Daily Retirement Benefits Rate shall be multiplied by the
                               number of days between (i) the Eligible Claimant’s post‐DWH Spill
                               reduction in Pre‐Spill Retirement Benefits, and (ii) the documented
                               change in the terms of the Pre‐Spill Benefit Providing Employer’s
                               retirement contributions; and
                          2. The Revised Daily Retirement Benefits Rate shall be multiplied by the
                               number of days between:
                                    a. The effective date of the Pre‐Spill Benefit Providing Employer’s
                                       post‐DWH Spill Plan Change; and
                                    b. The earlier of (i) the effective date of any New Employer
                                       Retirement Benefits, or (ii) December 31, 2011.
        c. If the Eligible Claimant was a New Entrant to Employment, the Eligible Claimant’s
           Expected Post‐Spill Retirement Benefits are calculated by multiplying the New Entrant
           Retirement Benefits Rate calculated in subpart (c) of Step 1 above by the total number
           of days between:
                 i. The date on which the Eligible Claimant’s vested Pre‐Spill Retirement Benefits
                     would have begun absent the DWH Spill, or the date on which the reduced
                     benefits actually began, and
                ii. The earlier of (i) the effective date of any New Employer Retirement Benefits,
                     or (ii) December 31, 2011.

 3. Step 3: Calculate Eligible Claimant’s Retirement Benefit Losses
        a. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were terminated as a result of
            the DWH Spill, the Eligible Claimant’s Retirement Benefit Losses shall be equal to the
            Expected Post‐Spill Retirement Benefits; or
        b. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were reduced as a result of the
            DWH Spill, the Eligible Claimant’s Retirement Benefit Losses shall be equal to the
            difference between Expected Post‐Spill Retirement Benefits and the Eligible Claimant’s
            Actual Post‐Spill Retirement Benefits for the same period.
        c. If the Eligible Claimant was a New Entrant to Employment, the Eligible Claimant’s
            Retirement Benefit Losses shall be equal to the Expected Post‐Spill Retirement
            Benefits calculated in subpart (c) of Step 2.

 No RTP will be applied to any calculated Retirement Benefit Losses.




                                                10


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